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                        UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF MISSISSIPPI


IN RE: LISA SEWARD                                              CHAPTER 7

DEBTOR                                                          CASE NO. 18-11395 JDW

                                 MOTION TO AVOID LIEN

       COME(S) NOW, Debtor(s), by and through his/her/their attorney of record, and moves

the Court, pursuant to §522(f) of the United States Bankruptcy Code, to avoid the lien of the

Creditor, Tower Loan of Horn Lake, UCC File No. 20162091488A, on the grounds that the

security in household goods for said debt is a non-possessory, non-purchase money security

agreement. That said security is exempt property.

       WHEREFORE, PREMISES CONSIDERED, Debtor(s) move(s) this Honorable Court to

order the avoidance of the above lien/judgment.

                                            RESPECTFULLY SUBMITTED,


                                            /s/Karen B. Schneller
                                            KAREN B. SCHNELLER, MSB # 6558
                                            ALLEN CHERN LAW, LLC
                                            126 NORTH SPRING STREET
                                            POST OFFICE BOX 417
                                            HOLLY SPRINGS, MISSISSIPPI 38635
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                               CERTIFICATE OF SERVICE


       I, Karen B. Schneller/Robert H. Lomenick, Attorney for Debtor, do hereby certify that I
have this day mailed, via electronic delivery or postage prepaid, a true and correct copy of the
above and foregoing Motion To Avoid Lien to:

Tower Loan of Horn Lake
Post Office Box 68
Horn Lake, MS 38637

Jeffrey A. Levingston, Esq.
Chapter 7 Trustee
Post Office Box 1327
Cleveland, MS 38732

U. S. Trustee
501 East Court Street, Suite 6-430
Jackson, Mississippi 39201

       This the 11th day of May, 2018



                                                   /s/Karen B. Schneller_______
                                                   KAREN B. SCHNELLER
